                                Case 18-12714-KJC                   Doc 1      Filed 11/30/18            Page 1 of 22



 Fill in this information to identify your case:

 United States Bankruptcy Court for the:

 DISTRICT OF DELAWARE

 Case number (If known)     ---------------- Chapter                                    11
                                                                                                                        D   Check if this an
                                                                                                                            amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                         4/16
If more space Is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and case number (If known).
For more Information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, Is available.


1.    Debtor's name                Argos Therapeutics, Inc.

2.   All other names debtor
     used In the last 8 years
     Include any assumed           Merlx Bioscience, Inc.
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification
     Number (EIN)                  XX-XXXXXXX


4.   Debtor's address              Prlnclpal place of business                                   Mailing address, If different from principal place of
                                                                                                 business

                                  4233 Technology Drive
                                  Durham1 NC 27704
                                   Number, Street, City, State & ZIP Code                        P.O. Box, Number, Street, City, State & ZIP Code

                                   Durham                                                       Location of principal assets, If different from prlnclpal
                                   County                                                       place of business

                                                                                                 Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)        http://www.argostherapeutlcs.com/


6.   Type of debtor               � Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                  D   Partnership (excluding LLP)
                                  D   Other. Specify:




Official Form 201                           Voluntary Petition for Non-Individuals FIiing for Bankruptcy                                            page 1
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 Debtor     Argos Therapeutics, Inc.
            NMno
                                                                                                          Case number (ii known)
                                                                                                                                   ----------- ---
 7,    Describe debtor's business        A. Check one:
                                        0 Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                        0 Single Asset Real Estate (as defined In 11 U.S.C. § 101(51B))
                                        0 Railroad (as defined in 11 U.S.C. § 101(44))
                                        0 Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                        0 Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                        0 Clearing Bank (as defined in 11 U.S.C. § 781 (3))
                                        WI None of the above
                                         B. Check ell that apply
                                        0 Tax-exempt entity (as described In 26 U.S.C. §501)
                                        0 Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                        n Investment advisor (as defined In 15 U.S.C. §80b-2(a)( 11))
                                        C. N AICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                           See l:!!lp:l/www.uscourts.gov/four-dii;tll·national-associatlon-naics-codes.
                                                   3254

8.    Under which chapter of the        Check one:
      Bankruptcy Code Is the
      debtor filing?
                                        0      Chapter7
                                        0      Chapter 9
                                        fv'J   Chapter 11. Check all that apply.
                                                               0    Debtor's aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                                    are less than $2,566,050 (amount subject to adjustment on 4/01119 and every 3 years after that).
                                                               D    The debtor is a small business debtor as defined in 11 U.S.C. § 101 (51 D). If the debtor is a small
                                                                    business debtor, attach the most recent balance sheet, state1T1ent of operations, cash-flow
                                                                    statement, and federal income tax return or if all of these documents do not exist, follow the
                                                                    procedure in 11 U.S.C. § 1116(1)(8).
                                                               0    A plan is being filed with this petition.
                                                               0    Acceptances of the plan were solicited prepetltion from one or more classes of creditors, In
                                                                    accordance with 11 U.S.C. § 1126(b).
                                                               0    The debtor is required to file periodic reports (for example, 1 OK and 1OQ) with the Securities and
                                                                    Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                    attachment lo Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                    (Official Form 201A) with this form.
                                                               D    The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                        0      Chapter 12



9.    Were prior bankruptcy             �No.
      cases filed by or against
      the debtor within the last 8      QYes.
      years?
      If more than 2 cases, attach a
      separate list.                               District   ----- ---- When                        - ------ Case number
                                                   District ---------�When                           -------- Case number
10. Are any bankruptcy cases            It) No
      pending or being flied by a
      business partner or an            0Yes.
      affiliate of the debtor?
      List all cases. If more than 1,
      attach a separate list                       Debtor     -------------------- Relationship
                                                   District   ---------- When ------- Case number, if known



Official Form 201                                Voluntary Petition for Non-Individuals FIiing for Bankruptcy                                                 page 2
                               Case 18-12714-KJC                    Doc 1         Filed 11/30/18                Page 3 of 22


Debtor    Argo, Therapeutics, Inc.
          Nr,mo
                                                                                                    Case number (if known)
                                                                                                                             --------------
11. Why Is the case filed In     Check all that apply:
                                         Debtor has had Its domicile, principal pl ace of business, or principal assets in this district for 160 days Immediately
     this district?
                                 [il
                                         preceding the date of this petition or for a longer part of such 100 days than in any oH,er district.
                                 D       A bankruptcy case concerning debtor's affiliate, general partner, or partnership Is pending In this district.

12. Docs the debtor own or       wJ No
    have possession of any
    real property or pers onal   n Yes.      Answer below for each property that needs immediate attention. Attach additional sheets if needed.
     property that needs
     Immediate attention?                    Why does the property need Immediate attention? (Check all that apply.)
                                            D It poses or is alleged to pose a threat of Imminent and identifiable hazard to public health or safety
                                               What is the hazard?
                                            D It needs to be physically secured or protected from the weather.
                                            D It Includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                               livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                            00ther
                                            Where Is the property?
                                                                              Number, Street, City, State & ZIP Code
                                             Is the property Insured?
                                            0No
                                            D Yes.     Insurance agency
                                                       Contact name
                                                       Phone


         Statistical and administrative Information
13. Debtor's estimation of                Check one:
    available funds
                                         [1l Funds will be available for distribution to unsecured creditors.
                                         D After any administrative expenses are paid, no funds will be available to unsecured creditors.
14. Estimated number of          � 1-49                                           0 1,000-5,000                               B
                                                                                                                                  25,001-50,000
    creditors                    O 50-99                                          D 5001-10,000                                   50,001-100,000
                                 O 100-199                                        D 10,001-25,000                             0   More than100,000
                                 D 200-090
16. Estimated Assets                                                              WI $1,000,001 - $10 million                 0 $500,000,001 - $1 billion
                                 �
                                   $0 - $50,000
                                   $50,001 - $100,000                             nn   $10,000,001 - $50 mllllon              D $1,000,000,001 - $10 billion
                                                                                                                              0 $10,000,000,001 - $50 billion
                                   $100,001 • $500,000
                                   $500,001 - $1 million                           n   $50,000,001 - $100 million
                                                                                       $100,000,001 - $500 million            D More than $50 billion
16. Estimated liabilities        D $0 - $50,000                                   D $1,000,001 - $10 million                  D $500,000,001 - $1 billion
                                 D $50,001 - s100,ooo                             � $10,000,001 - $50 million                 D $1,000,000,001 - $10 billion
                                 D s100,001 • $soo,ooo                            D $50,000,001 - $100 million                0 $10,000,000,001 - $50 billion
                                 D $500,001 - $1 million                          D $100,000,001 - $500 million               D More than $50 billion




Official Form 201                          Voluntary Petition for Non-lndlvlduals Filing for Bankruptcy                                                    page 3
                                    Case 18-12714-KJC                         Doc 1       Filed 11/30/18                   Page 4 of 22

ûsrrior Arqos Theraoeutics, lnc.                        ,,_            .,,_         -
                                                                                                           Cese numbEr (/r,rnowôl
         l,¡añe



         Requost     lor Flsliel, Dêclarataon, and Slgnalurss
                                                                                                                                 lines up lo $500,000 or
WARNING    -   8arìkruptcy lrauct is a sefiouÊ cfime. Making a fqlle ltgtgteq-in.connect¡on with a bånkfuptcy case can result in
               imprisonm'enr  for up  lo 20 years, or both. 1B U.S.C. SS 15U, 1i141 , 1519, and 3571   .




1?. Oeciaratlon and s¡gnature
                                                                                                                                         petit¡oo'
   ot author¡red            The debtor requ6sts relief in accordance with the chapter of lill€ 11, Uniled Stat€s Code, specilled in lhls
   representative ol debtor
                                    I   have been author¡zed to rire this p€tirion on behalf ol the debtor.
                                                                                                                                                      correct.
                                    I   have examined lhe information in this pelition and have a reasonable beliet that the inlormatlon is trued and

                                    I dec¡are     under penalty of perjury thal he loregoing is lrue and correct'

                                    Executed      on     November 30. 2018
                                                         MM/DD/YYYY


                                x                                                                                           name
                                                                                                                                 Fosler
                                    Signatu re     of authorized represerlativ e

                                    Title      Chief                 no Olllcer




18. S¡gnature of attorney       x                                                                                   Date November 30, 2018
                                    Signature of attomey for debtor                                                      MM/DDIYYYY

                                    !lålthe3t-B:-¡,tc.gu¡ie.,496.q. -...,          ,..", ....-"*                    ...*              ",, ."..   ** ***-*" *"**'
                                        Printed name

                                        Landls Rath &,CoÞÞ
                                        Fkm name
                                                                  LLP                           .                           ,-            -."     .   -   .-. ..   - -   -"



                                        919 Market Street
                                        Suite 1800
                                        w¡t


                                        contact   phone    (302) 46?4400                Emailaddress landi¡@lrclaw'com

                                        4366 DE             tæ

                                        Bar number and State




                                                                                                                                                                     page 4
 Otticiâl Form 201                                 voluntary Petltlon lor Non-lndlvlduals Flllng lor Bankruptcy
                                   Case 18-12714-KJC                Doc 1         Filed 11/30/18             Page 5 of 22
Ofïicial Form 20 I A (l2l 15)

        Ilf debtor is required to file periodic reports (e.g., forms ]0K and I)Q) with the Securities and Exchange Commissíon
                                                                                                                        I I of the
        þirrront to Seciion t S or I S(¿) of the Sàcurities Exchange Act of 1934 and is requesting relief under chapter
        Bankruptcy Code, this Exhibit        AAA   shaLl be completed and attached to the petition.l


                                   IN THE UNITED STATES BANKRUPTCY COURT
                                        F'OR THE DISTRICT OF DELAWARE

   In re:                                                                    Chapter 11

   ARGOS THERAPEUTICS, INC.
                                                    I
                                                                             Case     No.   18--          (-)
                                    Debtor



                                   Attachment to voluntary Petition for Non-Individuals Filing for
                                                  BankruPtcy under ChaPter 11


                      any of the debtor's securities are registered under Section 12 of the Securities Exchange Act of
                   l. If
            1934, the SEC file number is 0001105533 (CIK Number)'

                  Z.Thefollowing financial data is the latest available information and refers to the debtor=s condition on
                           l8
                  a.    Total assets                                                           $10.880.900.00

                   b. Total debts (including debts listed in 2.c., below)                      $23.4s3.779.00

                   c. Debt securities held by more than 500 holders                            N/A

                                                                                                                                 Approximate
                                                                                                                                 number of
                                                                                                                                 holders:

                        secured     ü    unsecuredE           subordinatedfJ          $_-
                        secured     Ë    unsecuredff          subordinated      ff,   s

                        secured     tl   unsecuredE           subordinated      u     $

                        secured     n    unsecured0           subordinated      EI $
                        secured     n    unsecuredfJ          subordinatedg           $


                   d. Number of shares of preferred stock
                   e. Number of shares common stock                                                                              10.586.


                   f.    Comments, if any




I The last tbur digits of the Debtor's federal tax identification number are 0007. The Debtor's corporate headquarters and its
mailing address is 4233 Technology Drive, Durham, NC 27704.
            Olficial Fo¡m   20lA         Artachment ro Voluntary Petition for Non-lnilividuals Filing for Bankruptcy under Chapter I I
                     Case 18-12714-KJC               Doc 1        Filed 11/30/18              Page 6 of 22
      3. Brief description of debtors business:




      4. List the names of any person who directly or indirectly owns, controls, or holds, with power to
      vote,57o or more of the voting securities of debtor: N/A Pharmastandard is only                       ì   57o Shareholder




Official Form 20lA        Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter I I
                     Case 18-12714-KJC       Doc 1    Filed 11/30/18   Page 7 of 22



                                          Argos Therapeutics, Inc.

                             Authorization for Fiting Voluntary Petition Under
                           Chapter LL of the Bankruptcv Code and Related Matters

     The undersigned Directors of the Board (the "Board") of Argos Therapeutics, Inc., a
Delaware corporation (the ooCompany"), hereby adopts the following resolutions (the
"Resolutions"):

            WHEREAS, a Special Meeting of the Board was held on November 29,2018;

            \ilHEREAS, the Board has considered the financial and operational conditions of   the
Company;

        WHEREAS, the Board has reviewed, considered, and received the recommendation of
senior management of the Company and the advice of the Company's professionals and advisors
with respect to the options available to the Company, including the possibility of pursuing a
restructuring or sale of the Company's business and assets under chapter 11 of title 11 of the
United States Code (as amended or modified, the "Bankruptcy Code");

            NO\il, THEREFORE' IT IS HEREBY RESOLVED, that after consideration of               the
 alternatives presented to it and the recommendations of senior management of the Company and
the advice of the Company's professionals and advisors, the Board has determined in its business
judgment that it is in the best interest of the Company, its creditors, shareholders, employees,
 other interested parties and stakeholders that a voluntary petition be filed by the Company under
               I
 chapter I of the Bankruptcy Code in the United States Bankruptcy Court for the District of
 Delaware and the filing of such petition is authorized hereby; and it is

            FURTHER RESOLVED, that the members of the Board and any other officer or person
designatedandsoauthorizedtoact(collectively,the..@1-M'')herebyare,andeach
of them is, authorized and empowered to (a) execute, verify and file on behalf of the Company
all documents necessary or appropriate in connection with the filing of said bankruptcy petition,
including, without limitation, all petitions, affidavits, declarations, schedules, statements of
financial affairs, lists, motions, applications, pleadings, and other papers or documents in
connection with such chapter 1l petition; (b) take and perform any and all actions deemed
necessary and proper to obtain such relief as authorized herein and in connection with the
Company's chapter 11 case; (c) appear as necessary at all bankruptcy proceedings on behalf of
the Company; and (d) pay all such expenses where necessary or appropriate in order to carry out
fully the intent and accomplish the purposes of the resolutions adopted herein; and it is

        FURTHER RESOLVED, that the Asset Purchase Agreement between the Company
Cellscript, LLC, and Immune and Cell Therapies, LLC (the "Asset Purchase Agre        "), shall
be entered into by the Companyi and the Authorized Persons are, and each of them hereby is,
authorized and directed to enter into the Asset Purchase Agreement and each of the ancillary
documents to be entered into in connection therewith (the "Transaction Documents"), and to
perform the transactions and obligations contemplated by the Asset Purchase Agreement and the



{   120s.001-w00st619.2\
                       Case 18-12714-KJC   Doc 1   Filed 11/30/18   Page 8 of 22




Transaction Documents, subject to bankruptcy court approval in the Company's chapter 11 case;
and it is

         FURTHER RESOLVED, that the retention of Landis Rath & Cobb LLP pursuant to the
April26,2018 retention agreement and the execution of any retention agreements, the payment
of any retainers, fees or expenses, and the approval of any matters related thereto, be and hereby
are ratified, adopted, and approved in all respects as the acts and deeds of the Company and the
Authorized Persons are, and each of them hereby is, authorized and directed to immediately upon
and after the filing of the bankruptcy case execute and cause to be filed an application for
authority to retain Landis Rath & Cobb LLP as the Company's bankruptcy counsel; and it is

        X'URTHER RESOLVED, that the retention of Wilmer Cutler Pickering Hale and Dorr
LLP ("Wtlmer Hale") pursuant to the November 23,2018 retention agreement and the execution
of any retention agreements, the payment of any retainers, fees or expenses, and the approval of
any matters related thereto, be and hereby are ratified, adopted, and approved in all respects as
the acts and deeds of the Company and the Authorized Persons are, and each of them hereby is,
authorized and directed to immediately upon and after the filing of the bankruptcy case execute
and cause to be filed an application for authority to retain V/ilmer Hale as the Company's special
corporate counsel; and it is

       FURTHER RESOLVED, that the retention of SSG Advisors, LLC ("SSG") pursuant to
the July 30, 2018 retention agreement and the execution of any retention agreements, the
payment of any retainers, fees or expenses, and the approval of any matters related thereto, be
and hereby are ratified, adopted, and approved in all respects as the acts and deeds of the
Company and the Authorized Persons are, and each of them hereby is, authorized and directed to
immediately upon and after the filing of the bankruptcy case execute and cause to be filed an
application for authority to retain SSG as the Company's investment banker; and it is

        FURTHER RESOLVED, that the retention and designation of Matthew Foster as the
Company's Chief Restructuring Officer (the "CRO") and Sonoran Capital Advisors, LLC
("Sonoran") pursuant to the November 29,2018 retention agreement and the execution of any
retention agreements, the payment of any retainers, fees or expenses, and the approval of any
matters related thereto, be and hereby are ratified, adopted, and approved in all respects as the
acts and deeds of the Company and the Authorized Persons are, and each of them hereby is,
authorized and directed to immediately upon and after the filing of the bankruptcy case execute
and cause to be filed an application for authority to retain Matthew Foster as the Company's
CRO and Sonoran to provide the Company with a CRO and certain additional personnel; and it
is

         FURTHER RESOLVED, that all instruments, agreements, certificates, consents,
waivers or other documents heretofore executed and delivered (or caused to be executed and
delivered) and all acts lawfully done or actions lawfully taken by the Authorized Persons in
connection with the chapter l1 case, the Asset Purchase Agreement, the Transaction Documents,
or any further action to seek relief on behalf of the Company under chapter 1 1 of the Bankruptcy
Code, or in connection with the chapter 11 case, or any matter related thereto, be, and hereby are,
adopted, ratified, confirmed and approved in all respects as the acts and deeds of the Company;
and it is


{ 1205.00   r-v/00st6t9.21                    2
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        FURTHER RESOLYED, that all instruments, agreements, certificates, consents,
waivers or other documents heretofore executed and delivered (or caused to be executed and
delivered) and all acts lawfully done or actions lawfully taken by the Authorized Persons in
connection with the chapter 11 case, the Asset Purchase Agreement, the Transaction Documents,
or any further action to seek relief on behalf of the Company under chapter l1 of the Bankruptcy
Code, or in connection with the chapter 11 case, or any matter related thereto, be, and hereby are,
adopted, ratified, confìrmed and approved in all respects as the acts and deeds of the Company;
and   it is

        FURTHER RESOLVED, that the acts, actions and transactions heretofore taken by the
Authorized Persons or the Board in the name of and on behalf of the Company in furtherance of
the purpose and intent of any or all of the foregoing resolutions, which acts, actions and
transactions would have been approved by the foregoing resolutions except that such acts were
taken before the resolutions were adopted, be, and hereby are, ratified, confirmed, and approved
in all respects.

          IN \VITNESS WHEREOF, the undersigned have executed this resolution        as of the date
first written above.

/s/ Jelrey D. Abbe:t
J.ffl'.y D. Abb.y, Director

/s/ Hubert Birner
Hubert Birner, Director

/s/ Robert Carelt
Robert Carey, Director

/s/ Igor Krol
Igor Krol, Director

/s/ Richard G. Monison
Richard G. Morrison, Director

/s/ Irqckly Mtib elishvilJ)
Irackly Mtibelishvily, Director




{ 1205.001-W00s 1619.2}                      J
                                               Case 18-12714-KJC                           Doc 1         Filed 11/30/18                Page 10 of 22


Fill in this information to i        the case
Debtor name                Thera           lnc.
United    States      kruptcy Cout't           DISTRICT OF DELAWA RE                                                                                        I     Check if this is an

                                                                                                                                                                  amended filing
Case number (if known)




Official Form 204
                                                                                                     Unsecured Claims and
Chapter 11 or ChaPter 9 Cases: List of Creditors Who Have the 20 Largest                                                        1?/15
Are Not lnsiders
A list of creditors holding the 20 largest unsecured claims must be filed
                                                                          in a chapter 11 or chapter I case' lnclude claims which the
                                                                                                           S 101(31)' Also' do not
debtor disputes. Do not include claims ov      ó"i"on or entity.who is an insider, as defined in 11 u's.G.
                                                                                                        value places the creditor
                                          "nv                               from ínadequate  collateral
include claims by secured creditors, unless tíre unsecureo clá¡m resulting
among the holders of the 20 largest unsecured   claims'
                                                                                                                                  of
Name     crêditor                       Name, telephone number                                                                                             f¡il tn only u ngscurêd claim âmount.
                                                             ol       (for example, trade             ¡s contingont'    lf thê claim ls fully unsecured,
complete ma¡ling address,               and emall address                                                                                                                                       lor
                                                                      debts, bank loans,             unl¡qu¡dated, or   claim is partlally secured, fiil tn total claim amount and deduction
includ¡ng zip code                      creditor contact                                                                                       setofl to
                                                                      professional serv¡ces,             d¡sputed       value of
                                                                      and government                                          claim, if                         for     ue     Unsec
                                                                      contracts)                                                                   of             or setoff
                                                                                                                             $6,848,730.00                                          $6,848,730.00
 Pharmstandard
 lnternational, S.A
 104 rue Henri                          +352 2484O131                      Trade Debts
 Schnadt
 Luxembourg,
                                                                                                                                                                                    $4,989,007.00
 Medinet Co. Ltd.
 Shin-Yokohama
 Square Building                        +81 -45-478-0041                   Trade Debts
 Kohoku-Ku
 Yokohamam,
 Kanagawa JaPan
 22-0033
                                                                                                                                                                                    $4,602,963.00
 lnvetech PtY Ltd   Attention: Chief
 495 Blackburn Road Exec
 Mt. WaverleY,                                                             Trade Debts
 Victoria 3149,
 Australia                               +61 3 9192 6000
                                                                                                                                                                                     $2,000,000.00
 Cellscript, LLC                         Attn: Gary A Dahl
 726 Post Road                                                             Trade Debts
 Madison, Wl 53713
                                                                                                                                                                                     $1,567,648.00
 Saint-Gobain                            Attn: Beniamin Le
  Pedormance                             Quere
  Plastics CorP.                                                            Trade Debts
  1199 South
  Chillicothe Road                       (330) 562-0759
  Aurora, OH 44202




                                                                                                                                                                                            page
                                                                                       cases: List of creditofs who Have the 20 Largest unsecured claims
                                                                                                                                                                                                   1

 off¡cial form   204                                       chapter 11 of chaptef   I
                                                                                                                                                                               Besl Case Bankruptcy
 Soltware Copyright (c) 1 996'201   I   Best Case, LLC ' www bestæse com
                                  Case 18-12714-KJC                             Doc 1        Filed 11/30/18     Page 11 of 22




Fill in thrs ¡nformat¡on lo identily lhe casel
Þebtor       nâme Aroos        Thera Õeut¡cs. lnc.

Un¡led States Bankruptcy Courl foI the                DISTBICT OF OÉLAWARE

Case number (il known)
                                                                                                                                    I   Check if this is an
                                                                                                                                        amended liling




Official For¡n 242
Declaration Unde r Penaltv of Peri urv for No n-lndividual Debtors                                                                                            12i15


An lndlvidual who lB authorizod to act on bshal! ol a non-lndividual debtor, Buch aa a corpgrstlon or Pårtnership,
                                                                                                                        musl sign and submlt this
                                                                                                                                            and any
torm for the schedule6 ot asaers and l¡abilltlss, any olher document that regulreÊ a declaratlon that is not lncluded ln the document,
                       documents.  This lorm   must  stats the lndiv{dual's poeition or rslal¡onshlp to the deblor, thê ldontily of th€ document,
amendments    of those
and the date. Bankruptcy Flules 1008 and 9011.

WAFNING         - Bankruptcy     lraud is a serious cflme. Maklng a lalso stâtement, concealing pfoPeftyfor obtalning mongy.glpjolefty by-haud ln
connect¡onwtthabantgupi"y""""canresultinttnesJp"tà$S0o,o0oorlmprisonmentiorupto20yearstorboth'                                      18u's'c.SS152,       1341.
15'19, and 3571      .




I      I am
                  Declaration and s¡gnatule

              the presidenl, another otficer, or ân authorized âgenl ol the corpofationi a member or an authofized agent ol the
                                                                                                                                partnership; or another
         individual serving as a representat¡ve ol lhe debtor in lhis case.

             håve exafnined the inlormation in lhe documents checked below and I have a reasonable bel¡el lhat the informalion is true and
                                                                                                                                           correct:
         I

                    Schedute A/8; Assets-Real and Peßonal Propefty (Official Form 2064/8)
                    schedute a: creditors who Havê claims secured by Prcperty (allicial Form 2060)
                    Schedule ËJF: Credltors VÚho Have Unsecured C/âirrs (Oflicial Form 206E/F)
                     Schedute G Execulory Contßc|s and Unexpired Leases (Ollicial Form 206G)
                    Schedule H: Codebtors (Official Form 206H)
                    Summary ol Assets and Liabititias lor Nan'tndivlduals {Olficial Form 206Sum)
                    Amended Schedule
                                                                                                                                    Tnslders {ollicial Form 204)
                    ð;:;r*", t Ii ciulrc,
                    Other docurnent lhat requires a         declaration !!!          .s,,,


         I   declare under penalty of periury that the foregoing is true and correct

             Executed    on   November 30.2018                           x

                                                                             Matthew Foster
                                                                             Pr¡nled name

                                                                             Chief               Oflicer
                                                                                     of           debtor




 Officiât Form     202                                            Dêclaratíon Under Penalìy ol Periury lo¡ Non-lndivldual D€blors
                                                                                                                                                    ílest C¡se []änK¡uÊi{ry
 lìollw¡re Çotyrrülìr (c) 199ô.?018 Besl Case, Lt.0 - wwvi þeslcase mm
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                           IN THE UNITED STATES BANKRUPTCY COURT
                                FOR THE DISTRICT OF DELAWARE

In re:                                                     Chapter 11

ARGOS THERAPEUTICS, INC.
                                      I
                                                           Case No.   18--          (-)
                            Debtor



   STATEMENT OF CORPORATE OWNERSHIP PURSUANT TO RULES 1OO7(AX1.)
      AND 7007.1 OF THE FEDERAL RULES OF BANKRUPTCY PROCEDURE

          pursuant ro rules 1007(aXl) and 7007.1 of the Federal Rules of Bankruptcy Procedure,

and to enable the Judges to evaluate possible disqualification or recusal, the above-captioned

debtor and debtor-in-possession (the "Deþ!sr") hereby discloses that the following                    are


corporations, other than the Debtor or a governmental unit, that directly or indirectly own ten

percent (IO7o) or more of any class of the Debtor's equity interests:

Pharmstandard Inteniational, Inc', S.A.
104 rue Henri Schnadt
Luxernburg, Luxembourg L-2530




 , The last fbul digits of the Debtor's federal tax identification number are 0007. The Debtor's corporate
 headqualters and its mailing address is 4233 Technology Drive, Durham, NC 21704.




 { 1205,001-w005 1623. }
                                    Case 18-12714-KJC                                Doc 1         Filed 11/30/18                Page 13 of 22




Fill in this ¡nlormation to ¡dentify the case:

Ðebtor      name Aroos Theraoeulics. lnc.
United Stales Bankruptcy Courl lor the                      DISTRICT OF DELAWARE

Case number {il known)
                                                                                                                                                  l-l   Check if this is an
                                                                                                                                                        amended lilittg



Official Form 202
Declaration Under Penaltv of Peri urv for Non-lndividual Debtors                                                                                                                  12115


An ln<llv{dualwho lB authorlzed lo åct on |rohalf of a non-indlvldual debtor, such as a corporation or parlnership, musl sign and ¡ubmlt lhl¡
lorm tor the scheduteê ol as8et8 and liabilltlea, any other documenl lhat requlre8 a declarallon that 18 not lncluded in the document, and any
amendments ot those documenta. This lorm must state lha lndividual'B pooition or relationohip to lh€ dsbtor, the identlty ol the docum€nl'
and lhe dal€. Bankruplcy Rules 1008 and 9011,

WAÊNING - Bankruptcy fraud is a eerious cr¡mê. Making a falÊe Btatement, concealing property, or obtaining money or property by.traud in
connection with a bankruptcy case can result in flnes up to $500,000 or imprlsonment for up to 20 years, or both. 18 U'S'G. 55 152' 1341'
1519, and 3571,



                  Dectäration and signature
I
        I am the president, another oflicer, or an âuthorized agent ol the corporation; a member or an authorized agenl of the padnership; or another
        individual serving as a representative of the debtor in this oase.

        I have   exam¡ned the inlormation             ¡n   the documents checked below and I have a reasonable belie{ that lhê inlormaìion ¡s kue and correct:

                    Schedule A/B; Assets-Real and Personal Propeny (Ollicial Form 2064r/9)
                    Schedute o; Credilors Who Have Claims Secured by Property (Oflic¡al Form 2060)
                    Schedute EiF: öred¡lors Who Have Unsecured Õlaims (Ofllcial Form 2069F)
                    Schedute G: Executory Contracts and Unexpircd Leases (Olticial Form 206G)
                    Schedule H; Codeblots(Official Fotm 206H)
                    Summary ol Assets and Liabilities lor Non'lndividuals (Official Form 206Sum)
                    Amended Scltedule
                    Cha¡tter I 1 ar Chaptet g Cases: List ol Credilots Who Have llte 20 Largest Unsecur& Claims and Arc Nat lns¡ders {Offic¡al Form 204}
                    Other document that requires a declaral¡on                 Ownershlr¡

        I   declare under penally ol periury lhat the forego¡ng is true and correct.

            Executed   on       November 30, 2018                             x                          44-
                                                                                  Signature of individual signang on þenâlt ol

                                                                                  MalthgwF-o_qter       ".-"-..*,, .      .

                                                                                  Prinled name

                                                                                  Chiel Restructurlns      9fliçer     .__ - _..        "   **.         -..-.* -..... .*."-                ,,

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Olficial Form     202                                                  Oeclaratlon Under Penalty ol Perlury lor Non{ndividual Debtor8
so!îwâre (ioÞyr:ghl ic) 1 996.20f B lilssr caso, l..Lc - wwil Þ6stcase,cfrl
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                           Case 18-12714-KJC     Doc 1   Filed 11/30/18    Page 14 of 22



                                   IN THE UNITED STATES BANKRUPTCY COURT
                                        FOR THE DISTRICT OF DELA\ryARE

In re                                                      Chapter 11

        ARGOS THERAPEUTICS, INC.I                          Case   No.   18--     (-)
                                     Debtor.               Tax LD. No. XX-XXXXXXX




                                        LIST OF EOUITY SECURITY HOLDERS

              The fbllowing is a list of debtor Argos Therapeutics, Inc.'s equity security holders' This

list has been prepared in accordance with Fed. R. Bankr. P. 1007(aX3) for filing this chapter         11


case

                                    Address                                       Units

CEDE & CO                                                                      9,086,619.00
PO Box 20
Bowling Green STN
New York,             NY    10274

Pharmstandard International, S.A.                                              627,632.00
l0A Rue Henri Schnadt
Luxemburg, Luxembourg L-2530

Lummy CO LTD                                                                    375,000.00
RM l9C, Lockhart CTR
301-307 Lockhart Road
WAN CHAI

ForArgos B.V.                                                                   230,904.00
Gooimeer 2-35,
l41l DC Naarden
The Netherlands

Dingo & Co,                                                                      86,826.00
c/o Computershare Inc.
250 ROYALL
Canton MA 02021-1011



 I The last fbur digits of the Debtor's federal tax identification   number are 0007. The Debtor's corporate
 headquartels and its mailing address is 4233 Technology Drive, Durham, NC 21704.




 I r 205.00   r   -w005:ì089.2 ]
                     Case 18-12714-KJC   Doc 1   Filed 11/30/18   Page 15 of 22



TVM V Lrfe Science Ventures GMBH & CO KG                            71,560.00
Ottostrabe 4
80333 Munich
Germany

WISCOTX Holdings LLC                                                45,309.00
726 Post Road
Madison, WI 53713

Saint-Gobain Performance Plastics Corporation                       34,449.00
1 199 South Chillicothe Road
Aurora OH44202

Bright Mining and Land Company Limited                               1,188.00
Partnership
200 Greenbrier Road, Box 460
Summerville WV 26651

Alison C. Saunders                                                   857.00
I 1809 Doc Arnold Drive
Raleigh, NC 27614

H&M Holdings LLC                                                      645.00
3l l0 Edwards Mill Road, Suite 300
Raleigh, NC 27612

Medinnova Partners Inc.                                               378.00
130 King Street, W Suite 2200
TORONTO ON M5X 1E3

Tamara Monesmith                                                      358.00
Z2Water Street, AtrI 1302
Cambridge M A, 021 4l -1394

Charles A. Nicolette                                                  340.00
5 Allen Moore Court
Durham NC 27703

Fonds De Solidaritedes Travailleurs                                   216.00
Du Quebec FTQ
545 Cremazie East, Suite 200
MONTREAL QC H2M 2W4

Tamao Watanabe                                                        153.00
Z-13-14 FUJI-CHO
NISHI-TOKYO-SHI
202-00t4 TOKYO

ABRPPVM                                                               144.00
480 Gilford Street, Suite 200




 { l 20s.00 r -w00s3089.2   }
                    Case 18-12714-KJC      Doc 1   Filed 11/30/18   Page 16 of 22



Montréal, QC H2J lN3, Canada

Regime De Rentes Du Mouvement Desjardins                               t44.00
95 Rue Des Commandeurs,
Lévis (Québec) G6V 6P6

National Bank of Canada                                                r44.00
I I 15 Rue Metcalfe, Bureau 23
Montreal QC H3B 5G2

Regimes De Retraite STM                                                t44.00
800 De La Gauchetiere Street West, Suite 8900
Montreal QC, H5A lJ6

Jeffrey D. Abbey                                                        129.O0
735 GimghoulRoad
ChapelHill NC 27514

Lothar Finke                                                            103.00
18, Seaman Road
West Orange NJ 07052

Bombardier Trust (Canada) Funds                                         72.00
800 Rene-Levesque Boulevard West,   29th   Floor
MontrealH3B 1Y8

Jacoba Slagter-Jager                                                    60.00
1022 Ash Lane
Stoughton     wI   53589-4 1 08

Emily C. Hernandez                                                      s0.00
108 Tutbury Place
Cary NC 27619-6610

Emily M. Vaughan                                                        37.00
206 Old Dock Trail
Cary NC 27519-5898

9047 -9395 Quebec Inc.                                                  28.00
Stikeman Elliott
I155 Rene Levesque Blvd W
Montreal QC, H3B 3V2

Brigitte N, Kamba                                                        22.00
4101 Vailwood Ct
Raleigh NC 27616

MichaelD. Myers                                                          18.00
3919 Lloyds Ct.
Mcleansville NC 27301



 { 1205.001 -w00s3089.2 }
                    Case 18-12714-KJC   Doc 1   Filed 11/30/18   Page 17 of 22




Carla R. Doggett                                                     10.00
4401 Iyar Way
Wake Forest NC 27587

Nicholas Kreutzer                                                    10.00
2914 Eaton Street
Wheat Ridge CO 80214-8410

Stephen Brand                                                        9.00
213 Boulder Bluff
ChapelHillNC 27516

Senco Brands Inc.                                                    9.00
4270Ivy Pointe Blvd
Cincinnati, OH45245

Xiaorong Feng                                                        7.00
221 Summerwalk Circle
ChapelHill NC 27511

BD Ventures LLC                                                       5.00
I Becton Drive
Franklin Lakes NJ 07417

Heidi Rosalind Mavengere                                              3.00
l526Tra1l View Lane
Durham NC 27713-6048

SHV Finance BV                                                        2.00
300 Pike Street
Cincinnati OH,45202

Philip J.Illlazzilli                                                  2.00
321 Edwards Brook Lane
Canton GA 30115

Duke University                                                       1.00
2020 West Main Street
Durham NC 27710

EliGilboa                                                             1.00
I 1 15 Capri Street
Coral Gables FL 33134

 H Kim Lyerly                                                         r.00
 C/O Duke University
 PO Box 2606
 Durham NC 27710




 { l 205.oor -w0053089.2   }
                    Case 18-12714-KJC   Doc 1   Filed 11/30/18   Page 18 of 22



Clayton A. Smith                                                     1.00
950 W lOth Ave Room 3300
Vancouver BCV5Z 4F,3

Bruce A. Sullenger                                                   1.00
421Mredicd Science Resource Bldg.
Box 2601 MedicalCenter
Durham NC,27710




{ r 20s.001 -w0053089.2 }
                                        Case 18-12714-KJC                                  Doc 1       Filed 11/30/18             Page 19 of 22




F¡ll in    this inlormâl¡on to identify the case
Debtor         name Arqos Therapeutics. lnc,
United States Bankruptcy Court for the                      DISTRICT OF DELAWAHÉ

Case nut¡ber           {i{ i(¡owni
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                                                                                                                                                  amended filing




Official Form 202
Declaration Under Penalty of Periurv for Non'lnd ividual Debtors                                                                                                        1211s


                                                                                                                              slgn and submit this
An individual who ìE authorared lo act on behall ol a non-lndividual debtor, such as a corporatlon of partnefship, musl
                                                                                                                                 document' and any
lorm lor the scheduleâ of assets and llabllltles, any oiher document that requlrss a declaiation that i8 nol included ln lhe
                                   Thls torm   muât  slåts tho ¡ndividual's poiltlon or relationship to the debtor, lhe ldontiìy of lhe docum€nt'
amendments ol thoôe documents.
and the date. Bankruptcy Rules '1008 and 901 1 .

WARNING - Bankruptcy lraud is a serious crime. Maklñg a talse statement, concea[lng
                                                                                      property, or oblainlng money or properry by lraud ln
connêct¡on wìlh a bankrupicy câse can Íeôult in fines uplo S500,000 or lmprisonmenl lor up lo 20 years, or
                                                                                                           both' 18 u.s.c. s$ 152, 1341,
1   51   g, and 3571    .




                     Declaralion and s¡gnature


           I arn thepresidenl, anothef olf¡cer, or an authorized agent of the corpofation; a member or an âulhofized agent of the parlnefshipi or anolher
           individual serving as â representative of the debtor in this case.
                                                                                                                                         and correct:
           I   have examined lhe inforrnation in lhe documents checked below and I have a reasonable beliet lhat lhe intormation is tfue

                        Schedule A/8: Assels-Reat and Personal Propefly\Ollicial Form 206A18)
                        schedute D; crcditors who Have ctaims secuted by Property lolficial Form 206Þ)
                        Schedule €/F; Credilors Vvho Have Llnsecured Claims(Afficial Form 206eft)
                        Schedule G: Execulory Contracts and llnexpired Leases (Olfìcial Form 206G)
                        Schedute H. Codebtors (Olficial Form 206H)
                        Sumnary ol Assets and L¡abi¡ilies lot Non-tndiv¡dlLats (Official Form 206Sum)
                        Arnended Schedule
                        C/,;;;;;I I;; Ç;;pþ                                                                                                 lnsr¿eis (ott¡c¡a| Form 204)
                        Other docurnent that requires a declaration                    I   l*t ol   Itv Secur¡lv

            I declare   under penalty ol periury that the foregoing is truê and correct'

               Ëxeculed     on       November 30, 2018                          x
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                                          gesl Case, Ll..C " vjww besl€se com
                                                         Case 18-12714-KJC                     Doc 1     Filed 11/30/18                    Page 20 of 22

                                                 NAMES                                  ADDRESS    T              ADDRESS 2                         ADDRESS 3           :ITY            STATE         ZIPCODE
                                                                495 Blackbum Road                         Mt. waverley                                                  Vic()ria        Austr¿Ì ia    ]r49
lnverech Ptv Ltd.
                                                                Anenrion: Chre, Executive Oflicer         l0A rue Henri Schnadt                                         Luxembour*       -uxembou¡!   L-2530
                                        s.A.
                                                                Shin-Yokohma
                                                                Atm:          Le                          I 199 South   Chillicoùe Road                                 Au¡om           OH            M202
                                   Plastics
                                                                Ann: Gæ A D¿rhì                           726 Post Road                                                 Madison         WI            53713

                                                                PO Box 532609                                                                                           Atlæta          GA            ]0-ì53-2ó09
                   LLC
                                                                PO Box 6463                                                                                             Cðol Srem       IL            5019'7,6A63

                                                                    Box 3(Ð41                                                                                           )urham          NC            27102-3041
       of Durham
                                                                PO Box 70515                                                                                             hùlotte        NC            ¿l't272-05    l6
                                                                 'O Box 20550                                                                                           Rtrhesæ¡        NY            t4602-0550
                                                                 PO    Box lfi)256                                                                                      Columbia        SC            29202-3256
                   Gas
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       Wmer                                                      PO Box 70872                                                                                           :hrlotte        NC             82'72-08'72

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         Cùolina
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            Division of                                          P.O. Box 898
 urham 4233 Medical ProDenies.                 LLC               r/o MB Real esnrc                        l8l   \ilest Madison Sûeet       uite   47û)                  ChicaÊo         [_            ûffiz
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                            LLC                                  17204 Crete Süeet
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                                   Inc.
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Secuities     &
                                                                 P.O. Box 7346                                                                                          Philadelphia    PA            l9l0l-7346
            Revenue Seruice
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                                                                 820 Silver Lake Blvd.
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         Finmcial                 lnc.
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                                   lnc.                          300   Comerce Squãe Blvd
                                   Inc-                          15004 Collections Center Drive                                                                         Chicaso         L
                                                                 PO Box 935667                                                                                          Atlæa           GA            lll93
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                     lnc.
                                                                 Dept      CH 19228                                                                                     Palatine        fL            cns5-922E
 :omDutenhãe lnc.
                                                                       South 5th                                                                                        Boise
                          I¡c
                                  l¡c                               Lake Rd                                                                                             Crædmmr         NC
                                                                 PO Box 926                                                                                             lrædmmr         NC            z'7522

Crescense      LLC                                               2655      Meridið Pãkway                                                                               Duhm            \c            z7'7   t3
                                                                 17390      Brækhust Stræt                                                                              Fomain Vallev                 s2'108
 ITS
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Duke Enersy Cdolinas, LLC
                                                                  'O Box 6O1297
                                                                                                                                                                        Chãlotte        \c            282û-129'7
                                                                 9233 Cðol's View Lue                                                                                   Forestville      :A           95436
            Sale
                                                                 405 Rollins Meadows Læe                                                                                Chæel Hill      NC               517
Eric Paul B¡æhwitz
                                                                 PO Box 371461                                                                                          'ittshu¡gh      PA            15250-'1461

                                                                 PO Box 31397                                                                                           Chõloûe         NC            28231-139'1
Florcs      & Assæiates, LLC
F¡eudenbers IT       LP                                          ó29 Davis Drive, Suite 600                                                                             Morisville      NC

Frontier                                                         PO Box 740¿107
                                                                 PO Box 677458                                                                                                          TX            75261 -'1458
Guildiæ - Appleton
                                                                 1500 Smday Drive, Suite 300                                                                            RaleiPh         NC            ¿76n'l
             Pitmm
                                                                 3110      Edwads Mill Rd. Suite 300                                                                    Raleiph         NC            ¿-16t2
Hutchison Law Grouo. PLLC
              &,        Solutions Inc                            PO  Box 80482
                                                                                                                                                                                        NY                        '1128
                                                                 PO Box 2?128                                                                                           New Yo¡k
                                                                 POBox'144'724                                                                                          Arlmh           CA            JO374-4124

K¡onos Sa¿Sb¡. Inc.                                              ]00 Chelmsford SEæt                                                                                    Lowell          MA            lE5    I
                                                                  tO Box 530954                                                                                         AdmÞ            GA            30353-0954

                                                                 5375 MedDace Way                                                                                       Cincimati       OH            4522'7

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               Inc.
                   lnc.                                          PO Box 740773                                                                                           Sincimati       )H           452'74-0'1'13
                                                                     )O Box 37428                                                                                        Ralei¡h          tc          2762'7

                                                                 2525      Almo    Avenue SE                                                                             Albuoueroue     \M              '106
                                                                                                                                                                         PhiìâdelDhia                 19178-0700
NASDAO Comorate Solutions LLC - LBx #l 1700                      PO Box 780700
                                                                 One Libeny       Plæ. 49ù Flmr                                                                           Iew York       NY           10006
NASDAO OMX CoDorate Solutions LLC




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                                                               Case 18-12714-KJC                         Doc 1      Filed 11/30/18     Page 21 of 22

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PricewarerhouseCo(ìpeh. LLP
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PrD-châse   Power                                                     PO Box 371874
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                   lnc.                                               PO Box 781393
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                          #9\9                                                                                                                                       KY            402Ð-1099
                                                                      PO Box 9001099
                                                                                                                                                   Louisville
                                                                      l(XÐ Bav Head Circle                                                         wilminglon        \c                  405
         G                      Ph.D,                                                                                                                                                        l
                                                                         I N Wabash Ave.. Unit 384                                                  hicafo           IL            6061

                                                                            7                           Suite 550
Rual                                                                                                                                               Monisville        NC            z',t5û
RUSY                      lnc                                         II    l2 Swada Lme                                                                                               '7526
                                                                      PO Box 967
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                                                                                                                                                   Cõol Srem         tL            (Ðt9'7-6582
                                                                      PO Box 6582
Slericrcle                                                                                                                                                           IL
                                                                      4010       Comercial Ave.                                                    No¡hbrook
Ste¡icycle, Inc.                                                                                                                                                                   20005
                                     & Fox PL                          ll
                                                                                                                                                                     NC            21609
         &                                                                                                                                             :rol Stem                   ñ197-6292
              Reuters                                                 PO Box 6292
                                                                                                                                                   C}ltrìone                           182'72-0872
       Wme¡ Cable                                                     PO Box 708?2
                                                                       22703 Network Place                                                         CìicaÊo           L                      73-t22'7
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                                            of                                                                                                                       FL                l2E9l-82r0
                                                                       PO Box 300110
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                                                                                                                                                   Dallð                               7532046'75
            Life                                                       PO Box 204678
                    services                                           PO Box 203508
                                                                       100      Slllmit   Lake Drive - Suile 40O                                   Valhalla          \Y                10595
                                                lnc.                                                                                                                                   L'l543
                                                                       179 W. AirDon Rd.
                                                                                                                                                   Lititz
                                            Inc.                                                                                                       riftsbùrsh    PA                1s264-2477
       Phmceutical              Services.                              PO Box 6424'l'7
                                                                                                                                                   Boston            MA                022t24450
                                                                                                                                     Monueal       CA                tÌ4^2y'7          oc
             Resðch                                                                                                                                    :A            KlP 5Y6           ON
                                                                                Box 2999 STN D                                       Ottawa
lmm & Bisca
               Bime¡                                                              Life Scioce                           4    m
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                                                                                                                                     Moscow        RU                t250/.',7
                                                                       6 Gæheka Süeet
                                                                                                                                     London        GB                N'W3    3HL
       Krol                                                                 36 Eton Avenue
                                                                                    Vll's st. 2- PO Box 2003 vtka                    C)slo             )to           125
                    AS
                                                                                                                                                       Morisville    NC                21562
         USALLC                                                        4808 Neìson Road
                                                                                 S2râbânde Drive                                                       3ñ             {c               215t3
                                                                                                                                                       Louisville     KY               +0223
                                c/o Vy'exford      Asst                10350       Omby Pak      PÌace, Suite 300
                                                                                                                                                        lhicapo       IL                     t3-0325
                                                   Healthcõe           J2575 CoÌlection Center Drive
                                                                                                                                                                      \iE                   54
                                                                       I1808 Mimcle Hills Drive
       LLC




 {12O5.æ1.Wø5@1.}
                                        Case 18-12714-KJC                                    Doc 1            Filed 11/30/18        Page 22 of 22




Fill in this rnformation lo identify lhe case
Debtor       name A¡oos                                      lnc.

United States Bankruptcy Court for lhe:                      DISTRICT OF DEIAWARE

Case number (il known)
                                                                                                                                              n     Check if this is an
                                                                                                                                                    amended liling



Official Form 202
Declaration Under PenaltY of Peri urv for Non-lndividual Debtors                                                                                                          1?J15



An lndlvidual who ¡s suthorlz€d to act on bohalf ol â non"lnd¡vldual debtor' such ã8 I corPoratlon or
                                                                                                       partnerahlpr mual algn and submll th¡8
                                                                                                                        in lhe document, and any
form lor ths schedulss ol a6set8 and liab¡lltles, any othsr documont that requlres a declaratlon lhal is not lncluded
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amendmônts ol tho6e documents, Thls lorm must state lhe lndlvldusl's position or relat¡onshlp to lhe debtor,
and tho date. Bankruplcy Rulea 1008 and 9011.
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WABNING     Bankruptcy fraud i8 a eerious crime. Maklng a lålse 8tâtomsnt, conceållng property, or obtalning money or
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connêctlon wltn a uanxrupicy case can resull in lineg uplo $500,000 or lmprltonment  for up to 20 years' or both. f I u.s.c, ls 152, 1341,
1519, and 3571.



                     Dsclaration and slgnaturo

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         I am rhe presidenl, añothef otficer, or an authorìzed agenì of the corporation; å m€mber of an authorized agent ol the
         individual serving as a represenlative of the debtor in lhis case.
                                                                                                                                is tfue and correct:
         I   have exarnined the infofnìat¡on ¡n the documents checked below and I hâve a reasonable belief ihât lhe information

                       Schedule A/El; Assets-Real aûd Persona! Properly (Olficíal Form 2064/8)
                       schedute D: Creditors who Have claims secured by Prcpeily lolficial Form 206D)
                       SchedLile E/F: Çreditors Wha Have Unsecured C,a,rns (Official Form 206äF)
                       Schedule G: Ëxecutory Conltacls and Unexplled Leases (Official Form 206G)
                       Schedute H: Codebtors t3lTicial Form 206H)
                       Surnnary of Assets and Liabitit¡es lo( Non-tndivrUuals (Olficial Form 206Sum)
                       Amended Schedule
                                                                                                                                                         (ofiicial Form 204)
                       Chaptet I |;;c;;pb
                       Other document lhat rerìuires a declaration                          Croditor Matrlx

         I   declare under penalty of periury that the foregoing                      ¡s   true ând correcl

             Executed     on      -llqVetltþer ?9r ?Q1"9              ,
                                                                                  x
                                                                                      Sigñàture of individual signing on behalt of debtor

                                                                                      Matthew Fosler
                                                                                      Printed name


                                                                                                 or




 Olficial Form        20?                                                  Declaralion Under Penalty ol Perlury lor Non.lndlvldual Debtors
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